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AO 458 (Rev 06/09) A ppcamncc of Counsel



                                    UNITED STATES DISTRICT COURT
                                                             for the
                                                 -Middle Distri ct of Georgia        El
    SECURITIES AND EXCHANGE COMMISSION                          )
                            Plaintiff                           )
                               v.                               )      Case N o.    4:22-cv-194-CDL
                GEORGE IAKOVOU ET AL                            )
                           Defendant                            )

                                               APPEARANCE OF COUNSEL

To:      T he clerk of court and all parti es of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Securities and Exchange Commission


Date: _ _0=-1=/2=-4=/2=0=2=3__



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